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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS, LLC,                    )
                                               )
                       Plaintiff,              )
                                               )   C.A. No. 1:19-cv-02363-RGA
        v.                                     )
                                               )
DUPONT DE NEMOURS, INC.,                       )   DEMAND FOR JURY TRIAL
                                               )
                       Defendant.              )
                                               )
                                               )



     PLAINTIFF SYMBOLOGY INNOVATIONS, LLC’S NOTICE OF VOLUNTARY DISMISSAL

       Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure, hereby provides notice that it dismisses WITH prejudice all claims by

Plaintiff against Defendant Dupont de Nemours, Inc. Each party shall bear its own costs,

expenses, and attorneys’ fees.


Dated: June 8, 2020                                Respectfully submitted,


                                                   /s/ Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606
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                                                   Attorney(s) for Plaintiff
                                                   Symbology Innovations, LLC




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                                 NOTICE OF VOLUNTARY DISMISSAL
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                               CERTIFICATE OF SERVICE
        I hereby certify that on June 8, 2020, I electronically filed the above documents with
the Clerk of Court using CM/ECF which will send electronic notification of such filings to all
registered counsel.

                                                    /s/ Stamatios Stamoulis___
                                                    Stamatios Stamoulis #4606




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                               NOTICE OF VOLUNTARY DISMISSAL
